              Case 23-13873-MBK                           Doc 10           Filed 06/14/23 Entered 06/14/23 10:10:25                                                     Desc Main
                                                                          Document     Page 1 of 41
 Fill in this information to identify your case:

 Debtor 1                   Louis A. Koehler, IV
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

 Case number
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             198,750.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $                 4,700.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             203,450.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             287,981.99

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $              23,038.00


                                                                                                                                     Your total liabilities $                 311,019.99


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 3,183.91

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 2,875.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-13873-MBK                           Doc 10          Filed 06/14/23 Entered 06/14/23 10:10:25                      Desc Main
                                                                     Document     Page 2 of 41
 Debtor 1      Louis A. Koehler, IV                                                       Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         4,236.26


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $               0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $               0.00

       9d. Student loans. (Copy line 6f.)                                                                $               0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
           Case 23-13873-MBK                                  Doc 10           Filed 06/14/23 Entered 06/14/23 10:10:25                                   Desc Main
                                                                              Document     Page 3 of 41
Fill in this information to identify your case and this filing:

Debtor 1                    Louis A. Koehler, IV
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number                                                                                                                                                Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
   Yes. Where is the property?


1.1                                                                            What is the property? Check all that apply
       1279 Coulter Street                                                        Single-family home                            Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building                 Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative
                                                                                  Manufactured or mobile home                   Current value of the      Current value of the
       Toms River                        NJ        08755-0000                     Land                                          entire property?          portion you own?
       City                              State              ZIP Code              Investment property                                  $397,500.00                $198,750.00
                                                                                  Timeshare                                     Describe the nature of your ownership interest
                                                                                  Other                                         (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.

                                                                                  Debtor 1 only
       Ocean                                                                      Debtor 2 only
       County                                                                     Debtor 1 and Debtor 2 only
                                                                                  At least one of the debtors and another        Check    if this is community property
                                                                                                                                   (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $198,750.00


Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   Yes


Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
         Case 23-13873-MBK                          Doc 10         Filed 06/14/23 Entered 06/14/23 10:10:25                                    Desc Main
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Debtor 1       Louis A. Koehler, IV                                                                                 Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
   Yes


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                $0.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe.....
                                   Misc (2500)                                                                                                             $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
    Yes. Describe.....
                                   Misc (1500)                                                                                                             $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
    Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
    Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe.....
                                   Misc (500)                                                                                                                $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes. Describe.....


Official Form 106A/B                                                  Schedule A/B: Property                                                                    page 2
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Debtor 1          Louis A. Koehler, IV                                                                                            Case number (if known)


                                           Misc (200)                                                                                                                    $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
    Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                               $4,700.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                                                Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
    Yes. Give specific information about them...................
                                                 Name of entity:                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                             Type of account:                                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                                                                 Institution name or individual:

Official Form 106A/B                                                                     Schedule A/B: Property                                                             page 3
         Case 23-13873-MBK                    Doc 10       Filed 06/14/23 Entered 06/14/23 10:10:25                                  Desc Main
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Debtor 1       Louis A. Koehler, IV                                                                  Case number (if known)

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............      Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............      Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
    Yes. Give specific information about them...
Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                            Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    No
    Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes. Describe each claim.........


Official Form 106A/B                                          Schedule A/B: Property                                                                    page 4
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Debtor 1         Louis A. Koehler, IV                                                                                                  Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes. Describe each claim.........
35. Any financial assets you did not already list
    No
    Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                  $0.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
   Yes. Go to line 38.


Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
      Yes. Go to line 47.

Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................             $198,750.00
56. Part 2: Total vehicles, line 5                                                                                 $0.00
57. Part 3: Total personal and household items, line 15                                                        $4,700.00
58. Part 4: Total financial assets, line 36                                                                        $0.00
59. Part 5: Total business-related property, line 45                                                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                        $4,700.00             Copy personal property total           $4,700.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $203,450.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                        page 5
             Case 23-13873-MBK                  Doc 10       Filed 06/14/23 Entered 06/14/23 10:10:25                               Desc Main
                                                            Document     Page 8 of 41
Fill in this information to identify your case:

Debtor 1               Louis A. Koehler, IV
                       First Name                    Middle Name                  Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        DISTRICT OF NEW JERSEY

Case number
(if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     1279 Coulter Street Toms River, NJ                                                                                11 U.S.C. § 522(d)(1)
     08755 Ocean County
                                                            $198,750.00                               $27,900.00
     Line from Schedule A/B: 1.1                                               100% of fair market value, up to
                                                                                    any applicable statutory limit

     Misc (2500)                                                                                                       11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 6.1
                                                               $2,500.00                                $2,500.00
                                                                               100% of fair market value, up to
                                                                                    any applicable statutory limit

     Misc (1500)                                                                                                       11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 7.1
                                                               $1,500.00                                $1,500.00
                                                                               100% of fair market value, up to
                                                                                    any applicable statutory limit

     Misc (500)                                                                                                        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                   $500.00                                $500.00
                                                                               100% of fair market value, up to
                                                                                    any applicable statutory limit

     Misc (200)                                                                                                        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                   $200.00                                $200.00
                                                                               100% of fair market value, up to
                                                                                    any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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                                                        Document     Page 9 of 41
Debtor 1    Louis A. Koehler, IV                                                             Case number (if known)

3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       No
       Yes




Official Form 106C                           Schedule C: The Property You Claim as Exempt                                       page 2 of 2
             Case 23-13873-MBK                      Doc 10          Filed 06/14/23 Entered 06/14/23 10:10:25                                      Desc Main
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Fill in this information to identify your case:

Debtor 1                   Louis A. Koehler, IV
                           First Name                      Middle Name                     Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                     Last Name


United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

Case number
(if known)
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B               Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                           value of collateral.   claim                  If any
2.1     Rocket Mtg                               Describe the property that secures the claim:               $287,981.99               $397,500.00                   $0.00
        Creditor's Name                          1279 Coulter Street Toms River, NJ
                                                 08755 Ocean County
                                                 As of the date you file, the claim is: Check all that
        1050 Woodward Ave                        apply.
        Detroit, MI 48226                         Contingent
        Number, Street, City, State & Zip Code    Unliquidated
                                                  Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                      car loan)
 Debtor 2 only
 Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another         Judgment lien from a lawsuit
 Check if this claim relates to a                Other (including a right to offset)
      community debt

                                Opened
                                8/22/16
                                Last Active
Date debt was incurred          12/13/19                  Last 4 digits of account number        3716



  Add the dollar value of your entries in Column A on this page. Write that number here:                               $287,981.99
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                              $287,981.99

Part 2:       List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
        Case 23-13873-MBK                       Doc 10     Filed 06/14/23 Entered 06/14/23 10:10:25                                Desc Main
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Debtor 1 Louis A. Koehler, IV                                                      Case number (if known)
           First Name             Middle Name               Last Name


[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.1
        KML Law Group PC
        Sentry Office Plaza                                                  Last 4 digits of account number
        216 Haddon Avenue
        Suite 406
        Westmont, NJ 08108

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.1
        Ocean County Sheriff's Office
        120 Hooper Avenue                                                    Last 4 digits of account number
        Toms River, NJ 08753

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.1
        Wrazen Home LLC
        3062 Wilbur Avenue                                                   Last 4 digits of account number
        Manchester Township, NJ 08759




Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 2
             Case 23-13873-MBK                       Doc 10         Filed 06/14/23 Entered 06/14/23 10:10:25                                          Desc Main
                                                                  Document      Page 12 of 41
Fill in this information to identify your case:

Debtor 1                   Louis A. Koehler, IV
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

Case number
(if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
       No. Go to Part 2.
       Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Internal Revenue Service                            Last 4 digits of account number                            Unknown                  $0.00                 $0.00
             Priority Creditor's Name
             P.O. Box 7346                                       When was the debt incurred?
             Philadelphia, PA 19101
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                            Unliquidated
        Debtor 2 only                                            Disputed
        Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

        At least one of the debtors and another                  Domestic support obligations
        Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                       Other. Specify
        Yes




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 5
                                                                                                              48048
          Case 23-13873-MBK                          Doc 10          Filed 06/14/23 Entered 06/14/23 10:10:25                                              Desc Main
                                                                   Document      Page 13 of 41
Debtor 1 Louis A. Koehler, IV                                                                             Case number (if known)

2.2        NJ Division of Taxation                                Last 4 digits of account number                           Unknown                      $0.00                  $0.00
           Priority Creditor's Name
           Bankruptcy Section                                     When was the debt incurred?
           P.O. Box 245
           Trenton, NJ 08695
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                             Unliquidated
        Debtor 2 only                                             Disputed
        Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

        At least one of the debtors and another                   Domestic support obligations
        Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
        Yes


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Amex                                                      Last 4 digits of account number         6453                                                        $1,216.00
           Nonpriority Creditor's Name
                                                                                                             Opened 6/16/16 Last Active
           P.o. Box 981537                                           When was the debt incurred?             7/01/18
           El Paso, TX 79998
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 5
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Debtor 1 Louis A. Koehler, IV                                                                 Case number (if known)

4.2       Bk Of Amer                                      Last 4 digits of account number       1640                                               $609.00
          Nonpriority Creditor's Name
                                                                                                Opened 12/17/14 Last Active
          Po Box 982238                                   When was the debt incurred?           2/20/18
          El Paso, TX 79998
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Credit Card

4.3       Cavalry Port                                    Last 4 digits of account number       5359                                              $7,500.00
          Nonpriority Creditor's Name
          4050 E Cotton Center Blvd                       When was the debt incurred?           Opened 6/18/19
          Phoenix, AZ 85040
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify 08 Citibank

4.4       Discoverbank                                    Last 4 digits of account number       6497                                              $3,773.00
          Nonpriority Creditor's Name
                                                                                                Opened 6/09/16 Last Active
          Po Box 30939                                    When was the debt incurred?           5/27/18
          Salt Lake City, UT 84130
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Credit Card




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 5
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Debtor 1 Louis A. Koehler, IV                                                                 Case number (if known)

4.5       Jpmcb Card                                      Last 4 digits of account number       8766                                              $4,545.00
          Nonpriority Creditor's Name
                                                                                                Opened 1/13/16 Last Active
          Po Box 15369                                    When was the debt incurred?           6/04/18
          Wilmington, DE 19850
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Credit Card

4.6       Midland Cred                                    Last 4 digits of account number       6267                                              $3,017.00
          Nonpriority Creditor's Name
          320 East Big Beaver                             When was the debt incurred?           Opened 1/17/19
          Troy, MI 48083
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify 01 Citibank N A

4.7       Midland Cred                                    Last 4 digits of account number       3791                                              $1,310.00
          Nonpriority Creditor's Name
          320 East Big Beaver                             When was the debt incurred?           Opened 12/27/18
          Troy, MI 48083
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify 01 Synchrony Bank




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 5
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Debtor 1 Louis A. Koehler, IV                                                                           Case number (if known)

4.8       Portfolio Rc                                             Last 4 digits of account number       3614                                              $1,068.00
          Nonpriority Creditor's Name
          120 Corporate Blvd Ste 100                               When was the debt incurred?           Opened 1/19/19
          Norfolk, VA 23502
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify 08 Synchrony Bank

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                             Total Claim
                        6a.   Domestic support obligations                                                6a.      $                          0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.      $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                          0.00

                                                                                                                             Total Claim
                        6f.   Student loans                                                               6f.      $                          0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                     23,038.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                     23,038.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 5
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Fill in this information to identify your case:

Debtor 1                Louis A. Koehler, IV
                        First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)     First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

Case number
(if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                    State what the contract or lease is for
                        Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.2
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.3
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.4
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.5
          Name


          Number      Street

          City                                   State                   ZIP Code




Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Louis A. Koehler, IV
                           First Name                            Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                            Middle Name        Last Name


United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

Case number
(if known)
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
      Yes
      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

   3.1                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




   3.2                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Louis A. Koehler, IV

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number                                                                                             Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                              Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $         4,236.26

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $   4,236.26




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Louis A. Koehler, IV                                                                  Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $         4,236.26

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00   $             762.45
      5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00   $               0.00
      5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00   $               0.00
      5d.    Required repayments of retirement fund loans                                  5d.     $              0.00   $               0.00
      5e.    Insurance                                                                     5e.     $              0.00   $             289.90
      5f.    Domestic support obligations                                                  5f.     $              0.00   $               0.00
      5g.    Union dues                                                                    5g.     $              0.00   $               0.00
      5h.    Other deductions. Specify:                                                    5h.+    $              0.00 + $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $        1,052.35
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $        3,183.91
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $                0.00
      8e. Social Security                                                                  8e.     $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                  0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                0.00 + $        3,183.91 = $            3,183.91
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           3,183.91
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1              Louis A. Koehler, IV                                                                 Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY                                                    MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                               0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                 4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Louis A. Koehler, IV                                                                      Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 100.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                 300.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 25.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,625.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $                       1,250.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,875.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,183.91
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,875.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 308.91

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Debtor 1      Louis A. Koehler, IV                                                                    Case number (if known)



Fill in this information to identify your case:

Debtor 1              Louis A. Koehler, IV                                                               Check if this is:
                                                                                                          An amended filing
Debtor 2                                                                                                  A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                          expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY                                             MM / DD / YYYY

Case number
(If known)
                                                                                                             Non-Filing Spouse

Official Form 106J-2
Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                                        12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1:       Describe Your Household

1.    Do you and Debtor 1 maintain separate households?
           No. Do not complete this form.
           Yes

2.    Do you have dependents?              No
      Do not list Debtor 1 but             Yes.
      list all other
      dependents of Debtor 2
      regardless of whether
      listed as a dependent
      of Debtor 1 on                               Fill out this information for    Dependent’s relationship to       Dependent’s    Does dependent
      Schedule J.                                  each dependent................   Debtor 2                          age            live with you?

      Do not state the                                                                                                                No
      dependents names.
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:   Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                          Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           0.00

      If not included in line 4:

      4a.     Real estate taxes                                                                              4a. $                           0.00
      4b.     Property, homeowner’s, or renter’s insurance                                                   4b. $                           0.00

Official Form 106J                                                   Schedule J: Your Expenses                                                        page 3
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Debtor 1     Louis A. Koehler, IV                                                                      Case number (if known)

      4c.   Home maintenance, repair, and upkeep expenses                                                    4c. $                                    0.00
      4d. Homeowner’s association or condominium dues                                                        4d. $                                    0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5. $                                    0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                  50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  200.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Your monthly expenses. Add lines 5 through 21.                                                                   $                       1,250.00
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to
    calculate the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 4
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Fill in this information to identify your case:

Debtor 1                    Louis A. Koehler, IV
                            First Name             Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:        DISTRICT OF NEW JERSEY

Case number
(if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

        Yes. Name of person                                                                            Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Louis A. Koehler, IV                                           X
             Louis A. Koehler, IV                                               Signature of Debtor 2
             Signature of Debtor 1

             Date       May 5, 2023                                             Date




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                Louis A. Koehler, IV
                        First Name                Middle Name                   Last Name

Debtor 2
(Spouse if, filing)     First Name                Middle Name                   Last Name


United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY

Case number
(if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                      04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
       Not married
2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
       Debtor 1:                                      Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                      lived there                                                                        lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
       Yes. Fill in the details.
                                           Debtor 1                                                       Debtor 2
                                           Sources of income               Gross income                   Sources of income               Gross income
                                           Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                           exclusions)                                                    and exclusions)




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1     Louis A. Koehler, IV                                                                     Case number (if known)



5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
      Yes. Fill in the details.
                                                Debtor 1                                                      Debtor 2
                                                Sources of income              Gross income from              Sources of income            Gross income
                                                Describe below.                each source                    Describe below.              (before deductions
                                                                               (before deductions and                                      and exclusions)
                                                                               exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
      No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

          No
      Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
      Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name




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Debtor 1     Louis A. Koehler, IV                                                                    Case number (if known)



Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

          No
      Yes. Fill in the details.
      Case title                                           Nature of the case         Court or agency                          Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      No. Go to line 11.
          Yes. Fill in the information below.
      Creditor Name and Address                            Describe the Property                                        Date                         Value of the
                                                                                                                                                        property
                                                           Explain what happened
      Rocket Mortgage                                      1279 Coulter Street                                                                      $397,500.00
                                                           Toms River NJ 08755

                                                            Property was repossessed.
                                                            Property was foreclosed.
                                                            Property was garnished.
                                                            Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
          No
      Yes. Fill in the details.
      Creditor Name and Address                            Describe the action the creditor took                        Date action was                 Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

          No
      Yes
Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
      Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600               Describe the gifts                                       Dates you gave                     Value
      per person                                                                                                        the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
          No
      Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total           Describe what you contributed                            Dates you                          Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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Debtor 1     Louis A. Koehler, IV                                                                Case number (if known)



     or gambling?

          No
      Yes. Fill in the details.
      Describe the property you lost and         Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                      Include the amount that insurance has paid. List pending           loss                              lost
                                                 insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
          Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment               Amount of
      Address                                              transferred                                              or transfer was             payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Veitengruber Law LLC                                 Attorney Fees                                                                       $2,500.00
      1720 Route 34
      Suite 10
      Wall, NJ 07727
      bankruptcy@veitengruberlaw.com


      Abacus Credit Counseling                             Credit Counseling Course                                                               $25.00
      17337 Ventura Boulevard
      Suite 226
      Encino, CA 91316


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
      Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment               Amount of
      Address                                              transferred                                              or transfer was             payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
          No
      Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or          Date transfer was
      Address                                              property transferred                       payments received or debts        made
                                                                                                      paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
          No
      Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                            Date Transfer was
                                                                                                                                        made




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Debtor 1      Louis A. Koehler, IV                                                                            Case number (if known)



Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or           Date account was           Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                   closed, sold,          before closing or
      Code)                                                                                                              moved, or                       transfer
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

          No
      Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                 Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                have it?
                                                                   State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          No
      Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                 Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                        have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)


Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

          No
      Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                     Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
      Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

           No
      Yes. Fill in the details.
       Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                  ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
      Yes. Fill in the details.
       Case Title                                                 Court or agency                            Nature of the case                   Status of the
       Case Number                                                Name                                                                            case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)


Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.
      Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business                   Employer Identification number
       Address                                                                                                    Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                  Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
      Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)


Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Louis A. Koehler, IV
Louis A. Koehler, IV                                                  Signature of Debtor 2
Signature of Debtor 1

Date      May 5, 2023                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
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Debtor 1     Louis A. Koehler, IV                                                       Case number (if known)




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Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Louis A. Koehler, IV                                                                    According to the calculations required by this
                                                                                                              Statement:
Debtor 2                                                                                                           1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:       District of New Jersey                                           2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number
(if known)
                                                                                                                   3. The commitment period is 3 years.

                                                                                                               4. The commitment period is 5 years.
                                                                                                                Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
        Not married. Fill out Column A, lines 2-11.
        Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                0.00      $         4,236.26
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                          Debtor 1
       Gross receipts (before all deductions)                         $      0.00
       Ordinary and necessary operating expenses                     -$      0.00
       Net monthly income from a business, profession, or farm $             0.00 Copy here -> $                     0.00      $               0.00
  6. Net income from rental and other real property               Debtor 1
     Gross receipts (before all deductions)                         $      0.00
       Ordinary and necessary operating expenses                     -$      0.00
       Net monthly income from rental or other real property         $       0.00 Copy here -> $                     0.00      $               0.00




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Debtor 1     Louis A. Koehler, IV                                                                     Case number (if known)



                                                                                                  Column A                      Column B
                                                                                                  Debtor 1                      Debtor 2 or
                                                                                                                                non-filing spouse
                                                                                                  $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                    $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $                 0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                       0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                  $                  0.00       $           0.00
                                                                                                  $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                    +   $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $                0.00        +$         4,236.26    =$          4,236.26

                                                                                                                                                    Total average
                                                                                                                                                    monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                  $          4,236.26
  13. Calculate the marital adjustment. Check one:
       You are not married. Fill in 0 below.
       You are married and your spouse is filing with you. Fill in 0 below.
            You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                          $
                                                                                          $
                                                                                      +$

                   Total                                                               $                     0.00         Copy here=>           -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                           $          4,236.26

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                             $          4,236.26




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Debtor 1     Louis A. Koehler, IV                                                                          Case number (if known)


                 Multiply line 15a by 12 (the number of months in a year).                                                                               x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     50,835.12


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                NJ

      16b. Fill in the number of people in your household.                      2
      16c. Fill in the median family income for your state and size of household.                                                                    $     99,056.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.            Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                       11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
      17b.        Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                       your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   4,236.26
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                      0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          4,236.26


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      4,236.26

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $     50,835.12




      20c. Copy the median family income for your state and size of household from line 16c                                                          $     99,056.00


      21. How do the lines compare?

                    Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                     period is 3 years. Go to Part 4.

              Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                     commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Louis A. Koehler, IV
       Louis A. Koehler, IV
       Signature of Debtor 1
      Date May 5, 2023
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
Official Form 122C-1          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                            page 3
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
George E. Veitengruber, III, Esq. 15532003
1720 Route 34
Suite 10
Wall, NJ 07727
(732) 695-3303
bankruptcy@veitengruberlaw.com




In Re:    Louis A. Koehler, IV
                                                                         Case No.:

                                                                         Chapter:            13

                                                                         Judge:

                   DISCLOSURE OF CHAPTER 13 DEBTOR’S ATTORNEY COMPENSATION

1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for the debtor(s) and
that compensation was paid to me within one year before the filed date of the petition, or agreed to be paid to me, for
services rendered or to be rendered on behalf of the debtor(s) in connection with this bankruptcy case is as follows:

            Under D.N.J. LBR 2016-5(b), I have agreed to accept for all legal services required to confirm a plan, subject
         to the exclusions listed below, including administrative services that may occur postconfirmation, a flat fee in the
         amount of $ 4,750.00 . I understand that I must demonstrate that additional services were unforeseeable at the
         time of the filing of this disclosure if I seek additional compensation and reimbursement of necessary expenses.

         Legal services on behalf of the debtor in connection with the following are not included in the flat fee:

         Representation of the debtor in:
                 adversary proceedings,
                 loss mitigation/loan modification efforts,
                 post-confirmation filings and matters brought before the Court.

         I have received:                                                     $   2,500.00

                 The balance due is:                                          $   2,250.00

                 The balance     will    will not be paid through the plan.

            Under D.N.J. LBR 2016-5(c), I have agreed to accept for legal services provided on behalf of the debtor in this
         case, an hourly fee of $    . The hourly fee charged by other members of my firm that may provide services to
         this client range from $     to $      . I understand that I must receive the Court’s approval of any fees or
         expenses to be paid to me in this case post petition pursuant to D.N.J. LBR 2016-1.

         I have received:                                                     $

2.       The source of the funds paid to me was:

           Debtor(s)                          Other (specify below)
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3.      If a balance is due, the source of future compensation to be paid to me is:

           Debtor(s)                        Other (specify below)




4.       I have or have not agreed to share compensation with another person(s) unless they are members of my law
firm. If I have agreed to share compensation with a person(s) who is not a member of my law firm, a copy of that
agreement and a list of the people sharing in the compensation is attached.

5.       (a) The Debtor(s) agree that coverage counsel may appear at hearings on their behalf in lieu of counsel retained by
Debtor(s) as needed. If possible, Debtor’s counsel will advise Debtor(s) of the use of coverage counsel for any hearings
prior to that hearing. Debtor(s) acknowledge that coverage counsel may not be a member of my firm and may or may not
be compensated for their appearance.

                              /s/ LK
                             Debtor(s) Initials               Debtor(s) Initials

        (b) The Debtor(s) DO NOT agree that coverage counsel may appear at hearings on their behalf in lieu of counsel
retained by Debtor(s) as needed. All appearances related to the Debtor(s) matter will be made by me, the undersigned
attorney, or members of my law firm.


                             Debtor(s) Initials               Debtor(s) Initials

6.      The Debtor(s) have reviewed this Disclosure and it is consistent with the terms of the Retainer Agreement.

Date: May 5, 2023                                 /s/ Louis A. Koehler, IV
                                                  Louis A. Koehler, IV
                                                  Debtor

Date:
                                                  Joint Debtor

Date: May 5, 2023                                 /s/ George E. Veitengruber, III, Esq.
                                                  George E. Veitengruber, III, Esq. 15532003
                                                  Debtor's Attorney




                                                                                                                     rev. 8/1/21
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                                              United States Bankruptcy Court
                                                        District of New Jersey
 In re   Louis A. Koehler, IV                                                                  Case No.
                                                                   Debtor(s)                   Chapter     13




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: May 5, 2023                                      /s/ Louis A. Koehler, IV
                                                       Louis A. Koehler, IV
                                                       Signature of Debtor
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                        Amex
                        P.o. Box 981537
                        El Paso, TX 79998


                        Bk Of Amer
                        Po Box 982238
                        El Paso, TX 79998


                        Cavalry Port
                        4050 E Cotton Center Blvd
                        Phoenix, AZ 85040


                        Discoverbank
                        Po Box 30939
                        Salt Lake City, UT 84130


                        Internal Revenue Service
                        P.O. Box 7346
                        Philadelphia, PA 19101


                        Jpmcb Card
                        Po Box 15369
                        Wilmington, DE 19850


                        KML Law Group PC
                        Sentry Office Plaza
                        216 Haddon Avenue
                        Suite 406
                        Westmont, NJ 08108


                        Midland Cred
                        320 East Big Beaver
                        Troy, MI 48083


                        NJ Division of Taxation
                        Bankruptcy Section
                        P.O. Box 245
                        Trenton, NJ 08695


                        Ocean County Sheriff's Office
                        120 Hooper Avenue
                        Toms River, NJ 08753
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                    Portfolio Rc
                    120 Corporate Blvd Ste 100
                    Norfolk, VA 23502


                    Rocket Mtg
                    1050 Woodward Ave
                    Detroit, MI 48226


                    Wrazen Home LLC
                    3062 Wilbur Avenue
                    Manchester Township, NJ 08759
